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Restaurant

              2.2. Thrive Restaurant Group, which is a name provided by employees ofthe

record of the store in question.

              2. 1 . Applebee's Clarksville. IXC, which is an entity identified on the business

Defendant in this civil action.

believed to be one of the following entities.          Each of these entities are included as a

located at 3066 Wilma Rudolph Blvd, Clarksville, Tennessee 37040. The actual owner is

               2 . Suit is brought against the owner and operator of the Applebee ' s Restaurant

Tennessee, residing at 157 Summer Grove Lane, Clarksville, Tennessee 37043.

               1.       Wanda Fay Grimes Cherry is a citizen and resident of Clarksville,

Inc. as follows:

the "Restaurant Defendant") and the landowner Appalachian) Land & Leasing Company,
                    \
Applebee's Restaurant located at 3066 Wilma Rudolph Blvd, Clarksville Tennessee (herein

              Comes now, Wanda Fay Grimes Cherry, by Counsel, to respectfully sue the

                                         COMPLAINT



              Defendants.                      .   J Docket No.:
SASNAK, INC.                      )                                   CC- l0l0-OJ-U>ls
LAND & LEASING COMPANY, INC., and )
the Complaint) and APPALACHIAN    )
(Owner(s) Defendants set forth in                  )
Clarksville, Tennessee                             )
3066 Wilma Rudolph Blvd.                           )
APPLEBEE'S RESTAURANTS,                            )
                                                   )
vs.                                                )                                   en         sT
                                                   )
                                                                                                  mr
              Plaintiffs,                          )                                              'nc/i
                                                                                       re
WANDA FAY GRIMES CHERRY.                           )                                   to
                                                                                                  Sr '    C
                                                                                       cn

             19TII JUDICIAL DISTRICT, CLARKSVILLE, TENNESSEE                                      or-.


             IN THE CIRCUIT COURT FOR MONTGOMERY COUNTY
                                                                                                  r-
                                                                                       r*o        c.


                                                                                             L*




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should have known of die condition of the rug as several customers had previously slipped,

properly. 'Die employees of Applebec's knew, or through die exercise of reasonable care,

was buckled and curled, and was not Hat on the floor. The rug was not placed on die floor

visited the restaurant to eat supper. The restaurant's rug was maintained in a dark area, and

Restaurant located at 3066 Wilrna Rudolph lilvd, Clarksvillc, Tennessee 37043. 'Hie family

              5. On January 15, 2019, die Plaindlfand her Husband visited die Applebec's

Tennessee 37043.

dial Applebec's Restaurant which is located at. 3066 Wilma Rudolph Houlevard, Clarksvillc,

              4.   Applebec's Restaurants LIX, or die proper entity listed above, operates

Inc.

              3. The owner of the real property is Appalachian Land 8c Leasing Company,

Service Company, 2908 Poston Avenue, Nashville, Tennessee 37203-1312.

Registered Agent for service of process for Applebec's Restaurants IXC, is Corporation

              2.11.   Applebec's Restaurants LIX.. is a Tennessee Corporation. The

              2.10. Appl.ebee'a Inc-

              2.9. Applebec's Franchisor LLC.

              2.8. Applebee's Servian, Inc.

              2.7. Dine Brands Global. Inc.

              2.6. Neighborhood Restaurants. Inc.

              2.5. Woodland Group. Inc.. 601 Main Sl. Ste. 102, Hazard, Ky 41701-1382.

              2.4. Applebec's Grill & Bar, a Trade Name.

Ste. 10, 5385 MDWS LK Dr., Memphis, Tennessee 381 15.

Wichita, Kansas 67206, owner, David Rolph, and Registered Agent LcroyJ. Allen, Jr., N.

  ,           2.3. Sasnak. Inc.. a Kansas Corporation located at 1877 N.        Hock Road,




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the restaurant as the rug had created problems at the restaurant before. Applebee's

               14. Applebee's Restaurants LLC, was negligent in not removing the rug from

                                Count II- General Negligence

condition of the rug is a centering problem and presents a safety hazard for patrons.

while in their establishment, when the Company knows from prior accidents that the

               1 3. Applebee's Restaurants IXC, is strictly liable for the safety of all customers

                                    Count I- Strict Liability

Report was not made.

               12. After the incident, the Plaintiff did not return to the restaurant A Police

treatment and therapy.

               11. The Plaintiff is still currently treating for injuries and will require future

activities at this time due to injuries sustained from the fall.

               10. The Plaintiff's mobility is limited, and the Plaintiff is unable to do everyday

The Plaintiff most likely will undergo surgery in the future.

therapy and has had x-rays and an MRI conducted due to injuries sustained from the fall.

               9. The Plaintiff sought treatment for her injuries, and is undergoing physical

Plaintiff* to the Emergency Room. The Plaintiff suffered injuries.

               8.   A manager stayed with the Plaintiff prior to the Husband driving the

and tripping over the same rug prior to this incident

a manager informed the Plaintiff that they had experienced problems with patrons slipping

              7. After the Plaintiff tripped and fell due to the buckled rug in the lobby area,

raining the day of the accident,

die lobby area and fell due to the rug not being properly placed on the floor. It had been

              6. During die visit to Applebee's Restaurant, the Plaintiff tripped on a rug in

tripj>cd or fell due to the buckled and curled rug.




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                                              Attorney for Wanda Faye Grimes Cherry
                                              Email molson@olsonplc.com
                                              Facsimile (931) 648-9186
                                              Telephone (931) 648-1517
                                              Clarksville, Tennessee 37040
                                              1 12 S. Second Street, Suite 200
                                              OLSON & OLSON, PLC
                                              MARK R. OLSON, BPR No.: 11630




                                              Respecthifly/SubntittStl,

discretionary costs are also respectfully sought

negligence of Applebee's and their employees,             Reasonable Court costs and any

the Plaintiff's medical bills incurred, and the Plaintiff s pain and suffering resulting from the

proper entity listed above, and Defendant Appalachian Land & Leasing Company, Inc. for

of a Judgment in the amount of $250,000.00 against Applebee's Restaurants LLC, or the

               WHEREFORE, premises considered, the Plaintiffrespectfully prays for entry

on the part of Defendant Appalachian Land & Leasing Company, Inc.

negligently allowing land with a known defect to be rented to the public. This was negligence

               16.   Defendant Appalachian Land & Leasing Company, Inc., is sued for

                                  Count IV - Known Defects

previously.

hazhazard and this event was foreseeable, as incidents causing damages had occurred

establishment, and the safety of all patrons, as the restaurant knew the rug was a tripping

               15. Applebee's Restaurants LLC, was negligent in the supervision of it's

                              Count ITT- Negligent Supervision

new rug in the event that the edges of the rug were curled and/or frayed.

customers to walk on. Applebee's Restaurant is negligent for not replacing the rug with a

Restaurant LLC, is negligent for not ensuring the rug was laid flat on the floor properly for




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1 1908:COMPLAINT.12.9.19

                                                  Individually
                                                  MARKBL€        ON, as a Member-arid
                                              BY:


                                              OLSON & OLSON, PLC



costs, properly assessed against the Plaintiff.
              I am surety for ordinary Court costs in this civil action, excluding discretionary

                                        COST BOND




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